     Case 3:20-cv-02310-WQH-MSB Document 10 Filed 06/06/22 PageID.40 Page 1 of 1



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    JULISSA COTA, individually                          Case No.: 20-cv-2310-WQH-MSB
      and on behalf of all other similarly
12
      situated,                                           ORDER
13                                       Plaintiff,
14    v.
15
      SEQUENTIAL BRANDS
16    GROUP, INC. d/b/a JOE’S
      JEANS, a Delaware corporation;
17
      and DOES 1 to 10, inclusive,
18                                    Defendants.
19
     HAYES, Judge:
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            Pursuant to Plaintiff’s Notice of Voluntary Dismissal (ECF No. 9) under Rule
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     41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
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            IT IS HEREBY ORDERED that this action, including all claims and causes of
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     action, is dismissed without prejudice. Each party shall bear its own fees and costs. The
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     Clerk of the Court shall close the case.
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      Dated: June 6, 2022
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